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Occupational & Professional License Search

 License Number:                    Licensee Name:                    License Status:                     License Type:

  Enter License Number               taherzadeh                         -- Select License Sta              All


 Date Range From:                   Date Range To:                    Sort By:

  mm/dd/yyyy                         mm/dd/yyyy                          Licensee          License                             Search
                                                                         Name              Number




 Total Number of Results 2 found.


                                     Arian Taherzadeh
                                     License Number: PD202313                           License Type: Private Detective

                                     Initial Issue Date: 08/20/2019                     License Status: Active

                                     Effective Date: 08/20/2019                         Expiration Date: 10/31/2020

                                     Affiliated Agency Name: United States Special Police, LLC


                                     Arian Taherzadeh
                                     License Number: SPO202342                          License Type: Special Police Officer

                                     Initial Issue Date: 06/04/2020                     License Status: Inactive-Revoked

                                     Effective Date: 06/04/2020                         Expiration Date: 05/31/2021

                                     Affiliated Agency Name: United States Special Police, LLC




                                                                                 Office Hours
                                                                                 Monday, Tuesday, Wednesday,
                                                                                 Friday 8:30 am to 4:30 pm and
                                                                                 Thursday 9:30 am to 4:30 pm


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                              1100 4th Street, SW,
                                                                                    TTY: (202) 123-4567
                              Washington, DC 20024
                                                                                    Email: dcra@dc.gov
                              Phone: (202) 442-4400




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Occupational & Professional License Search

 License Number:                    Licensee Name:                    License Status:                     License Type:

  PDB0202079                         Enter Licensee Name                -- Select License Sta              All


 Date Range From:                   Date Range To:                    Sort By:

  mm/dd/yyyy                         mm/dd/yyyy                          Licensee          License                          Search
                                                                         Name              Number




 Total Number of Results 1 found.


                                     United States Special Police, LLC
                                     License Number: PDB0202079                         License Type: Private Detective Business

                                     Initial Issue Date: 03/08/2019                     License Status: Active

                                     Effective Date: 11/01/2019                         Expiration Date: 10/31/2021




                                                                                 Office Hours
                                                                                 Monday, Tuesday, Wednesday,
                                                                                 Friday 8:30 am to 4:30 pm and
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Occupational & Professional License Search

 License Number:                    Licensee Name:                    License Status:                     License Type:

  SAB200389                          Enter Licensee Name                -- Select License Sta              All


 Date Range From:                   Date Range To:                    Sort By:

  mm/dd/yyyy                         mm/dd/yyyy                          Licensee          License                         Search
                                                                         Name              Number




 Total Number of Results 1 found.


                                     United States Special Police, LLC
                                     License Number: SAB200389                          License Type: Security Agency Business

                                     Initial Issue Date: 12/12/2018                     License Status: Active

                                     Effective Date: 11/01/2019                         Expiration Date: 10/31/2021




                                                                                 Office Hours
                                                                                 Monday, Tuesday, Wednesday,
                                                                                 Friday 8:30 am to 4:30 pm and
                                                                                 Thursday 9:30 am to 4:30 pm


                              Connect With Us
                                                                                    Fax: (202) 442-9445
                              1100 4th Street, SW,
                                                                                    TTY: (202) 123-4567
                              Washington, DC 20024
                                                                                    Email: dcra@dc.gov
                              Phone: (202) 442-4400




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                                                                      Find a COVID Center Near You




Security

 During the declared Public Health Emergency, licenses that normally would have expired were considered valid. With the declared Public Health Emergency
 having ended on July 25, 2021, license holders with expired licenses must submit their applications to renew their licenses.

 Renewal applications were accepted beginning July 1, 2021, and can be completed online. Effective December 31, 2021 at 11:59 PM, the renewal portal for all security
 program licenses will be closed. If you are an existing license holder, if you have not already done so, it is important that you submit your renewal application as
 soon as possible to maintain your license active status. All licenses with an expiration year of 2020 or 2021 will be expired. After this deadline you will be required to
 apply as a new licensee.

 Given the high volume of applications needing to be processed as a result of licenses not expiring during the declared Public Health Emergency, the time it takes
 to review renewal applications has been taking longer than usual. As such, licensees who have successfully submitted and paid for their renewal applications by
 December 31, 2021, will not face enforcement action for having an expired license. Licensees who have submitted their renewal applications by December 31, 2021,
 and who have received confirmation of submission, can continue using their expired license until their new license is issued. Licensees who fail to submit their
 renewal applications by December 31, 2021, will be subject to enforcement action.
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Thank you for your cooperation. If you have any questions, please call (202) 202-442-4320 between the hours of 8:30 AM and 4:30 PM, Monday through Friday, or
email opla.security@dc.gov.


  General Information


  Applicant


  Licensee

  License Renewal

  Campus/University Special Police Officer
  Expiration Date: May 31; Renewal Year:Odd

  Security Officer
  Expiration Date: April 30; Renewal Year: Even

  Private Detective
  Expiration Date: October 31; Renewal Year: Even

  Special Police Officer
  Expiration Date: May 31; Renewal Year: Annual

  Submit an application for renewal of an occupational or professional license.

      Request a Letter of License Certification
      Security License Designation/Transfer Request

  *Please note, previously completed required renewal documents such as health and drug screenings will be accepted as long as they were completed by
  March 3, 2021. Given the shortage of fingerprinting appointments, license renewal applicants are only required to provide proof of a scheduled fingerprinting
  appointment by September 1, 2021 (the actual appointment may be later than September 1).

  Security Agency and Security Agency Individuals

  Documents needed to renew:

      Notarized Authorization to Release Information Form
      Confirmation Receipt of Payment (with name of applicant)
      Proof of Insurance
      List of worksite(s) with name and locations
                                   Case 1:22-mj-00076-GMH Document 14-1 Filed 04/11/22 Page 6 of 7
Private Detective Agency

Documents needed to renew:

    Notarized Authorization to Release Information Form
    Confirmation Receipt of Payment (with name of applicant)
    Proof of Bond
    Must be affiliated with a licensed Private Detective Business (for individuals)


Individual License Renewal Documents

Security Officer Renewal Documents:

    Notarized Arrest Affidavit (including dispositions for arrests)
    Notarized Authorization to Release Information Form
    Drug Screening (6 panel with levels)
    Fingerprint Receipt (write/type applicant name)
    Confirmation Receipt of Payment Application (write/type applicant name)
    Must be affiliated with a licensed Security Agency Business or Security Agency Individual

Special Police Officer Renewal Documents:

    Notarized Arrest Affidavit (including dispositions for arrests)
    Notarized Authorization to Release Information Form
    Drug Screening (6 panel with levels)
    Health/Physical examination
    Fingerprint Receipt (write/type applicant name)
    Confirmation Receipt of Payment Application (write/type applicant name)
    If armed, a Range Certification is required
    If contracted to work at a DC Public Schools, a Letter of Designation is required
    Must be affiliated with a licensed Security Agency Business or Security Agency Individual

Campus Special Police Officer Renewal Documents:

    Notarized Arrest Affidavit (including dispositions for arrests)
    Notarized Authorization to Release Information Form
    Drug Screening (6 panel with levels)
    Health/Physical examination
    Fingerprint Receipt (write/type applicant name)
    Confirmation Receipt of Payment (write/type applicant name)
    If armed, a Range Certification is required
    250 Consortium Certification
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    Must be affiliated with one of the 9 licensed College/Universities Business

Private Detective

    Notarized Arrest Affidavit (including dispositions for arrests)
    Notarized Authorization to Release Information Form
    Confirmation Receipt of Payment Application (write/type applicant name)
    Must be affiliated with a licensed Private Detective Business or Private detective Individual


For additional information, please do not hesitate to contact our customer service number at 202-442-4320.




Consumer


Contact Us


Publications and Resources




                          Spanish (Español)   French (Français)   Vietnamese (Tiếng Việt)       Amharic (አማርኛ)       Chinese (中文)         Korean (한국어)



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                                                                           Thursday 9:30 am to 4:30 pm      Phone: (202) 442-4400




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